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September 20, 2018

Via ECF

Hon. Katherine H. Parker, U.S.M.J.
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 906
New York, NY 10007

       Re: City of Almaty v Ablyazov, 1:15-CV-5345 (AJN) (KHP)

Dear Judge Parker:

This firm represents defendants Viktor Khrapunov and Ilyas Khrapunov.

The Khrapunovs demand broad discovery from BTA/Almaty relating to their transactions and
interactions with three key fact witnesses: Frank Monstrey, Felix Sater, and Nicolas Bourg.
This discovery is warranted on three grounds:

                   (ii) to uncover evidence of bias, and (iii) as to Sater, to determine whether he
has violated various confidentiality obligations to which he is subject.

The Anti-Gratuity Statute. Under 18 U.S.C. § 201(c)(2), it is a crime whenever someone
“directly or indirectly, gives, offers, or promises anything of value to any person, for or because
of the testimony under oath or affirmation given or to be given by such person as a witness upon
a trial, hearing, or other proceeding, before any court, … or any … officer authorized by the laws
of the United States to hear evidence or take testimony ….” There is a carve out: it is
permissible to reimburse a witness for out-of-pocket expenses and for time lost preparing and
testifying for court proceedings. 18 U.S.C. § 201(d); Prasad v. MML Investor Services, Inc.,
2004 U.S. Dist. LEXIS 9289, 2004 WL 1151735, at *5-*6 (S.D.N.Y. 1996). But it is illegal to
shower a potential fact witness with financial payments (through settlement, consulting, or
indemnification agreements), to overcome hostility and to procure cooperation and testimony.
New York v. Solvent Chemical Co., Inc., 166 F.R.D. 284 (W.D.N.Y. 1996); cf. In re Ballard, 238
B.R. 610, 656 (Bankr. M.D. La. 1999) (“We recognize that a (transparent) facade could be
placed upon such a giving of value, that being the settlement and compromise of the debtor’s
claim to an interest in the lawsuit …. We should not pass the debtor a slice of the property under
the guise of a ‘compromise’ of the debtor’s claims”).
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It is also illegal to pay conditional compensation (i.e., a bounty) to a potential fact witness
because doing so provides an incentive to commit perjury or, if not outright perjury, to tailor
testimony in order to obtain compensation and foster the relationship created. 18 U.S.C. §
201(c)(2); In re Telcar Grp., Inc., 363 B.R. 345, 353-55 (Bankr. E.D.N.Y. 2007). These
arrangements are not permitted even if the witness is encouraged to tell the truth: “The payment
of a sum of money to a witness to ‘tell the truth’ is as clearly subversive of the proper
administration of justice as to pay him to testify to what is not true.” In re Robinson, 151 A.D.
589, 136 N.Y.S. 548 (App. Div. 1912).


                                                                            .

Frank Monstrey.
                                                    On May 7, 2018, BSF asked the Court to
extend fact discovery so they could depose a “confidential witness,” l




   The Court noted the “apparent gamesmanship” with respect to Monstrey, but authorized his
deposition, subject to Plaintiffs’ timely production of Monstrey-related documents. Dkt 773.

Despite the Court’s orders, the deposition of Monstrey—recognized by the Court as “Plaintiff’s
witness” and subject to a “cooperation agreement” (Dkt. 787)—was an unfunny circus.
Documents were produced late (or not at all) and some ostensibly with AEO designations (which
the Court quickly eliminated, Dkt. 787).
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Felix Sater. Felix Sater, a twice convicted felon—once for assault and once for stock fraud5—
claims to have been involved in all of the U.S. real estate transactions at issue in this case. His
participation ended with a dispute following the Tri-County Mall deal, the proceeds of which
were approximately $42 million.6 In a profanity-laced deposition, Sater claims that, in late 2013,
Ilyas Khrapunov denied him his share of the profits. But it was Sater who controlled the Tri-
County Mall proceeds, and he moved them to other banks to hide them from their owner
(Triadou’s affiliate company).7 He then sent millions of dollars in wire transfers to entities he
controlled (including the notorious Trump-linked Bayrock8); made five and six-figure payments
from company accounts to his personal AMEX card; and made more than a dozen cash ATM
withdrawals, usually for $1,003, from an ATM. He even paid his lawyers from company funds.




1
  BTA eventually did produce the statement, so apparently there is an avenue available when it serves BTA’s needs.
2
  http://www.morningstar.co.uk/uk/news/AN_1490015231853472200/extra-nostrum-oil-chairman-monstrey-hit-by-
uk-high-court-injunction.aspx and https://uk.webfg.com/news/news-and-announcements/high-court-prevents-
nostrum-oil-gas-chairman-dealing-with-his-assets--2581766.html
3
  On February 1, 2018, BTA and Nostrum announced their settlement.
http://www.morningstar.co.uk/uk/news/AN_1517479433243756900/nostrum-oil--gas-agrees-with-bta-bank-to-drop-
all-claims.aspx
4
  http://www.prnewswire.co.uk/news-releases/bta-bank-and-claremont-settle-nostrum-dispute-and-bta-bank-
acquires-nostrum-shares-628102853.html#
5
  See Tri-County Mall Investors LLC v. Sater, Index No. 654361/2013 (Dkt. No. 9)
6
  See Tri-County Mall Investors LLC v. Sater, Index No. 654361/2013 (Dkt. No. 1).
7
  Id.
8
  https://www.bloomberg.com/view/articles/2017-06-21/trump-russia-and-those-shadowy-sater-deals-at-bayrock
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                                                                         At his deposition, Sater was
able to vividly and colorfully recount pre-2013 conversations with the Khrapunov family, yet he
could not explain the millions of dollars that he took prior to the settlement. We would have
enjoyed questioning Sater about




Nicolas Bourg.




9
 See, e.g., Patel v. 7-Eleven, Inc., No. CV 14-00519 PSG (DTBx), 2015 U.S. Dist. LEXIS 92696, 13-14 (C.D. Cal.
Apr. 14, 2015) (
                                                                                               )
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If they are to get a fair trial, the Khrapunovs must receive complete disclosure from BTA/Almaty
of their dealings with these three witnesses.




                                                    If privilege is claimed, a log must be provided.
BTA/Almaty (and possibly their investigators) will have to be deposed to examine
                                               Separately, as to Sater, the Khrapunovs are also
entitled to know exactly what information he provided and under what circumstances, because
Plaintiffs’ use of these materials may be restricted due to the potential breach of confidentiality.
See, generally¸ City of Almaty v. Ablyazov, 1:15-CV-05345 (AJN)(KHP) (Docket No. 418).

Beyond the private interests,
                                        :

        The payment of a sum of money to a witness to testify in a particular way; the
        payment of money to prevent a witness' attendance at a trial; the payment of
        money to a witness to make him "sympathetic" with the party expecting to call
        him; these are all payments which are absolutely indefensible and which are really
        included in the general definition of subornation of perjury. The payment of a sum
        of money to a witness to "tell the truth" is as clearly subversive of the proper
        administration of justice as to pay him to testify to what is not true.

In re Robinson, 151 A.D. at 600, 136 N.Y.S. at 556.
                                                                       but it will take broad disclosure to
uncover the true nature and impact of Plaintiffs’ actions.


10
  It is unethical for a lawyer to pay witnesses consideration beyond expenses, see generally Restat 3d of the Law
Governing Lawyers, § 117 (3rd 2000). But to be clear, we are not accusing BSF of any ethical or legal violations.
The evidence shows potentially illegal and improper activities of their clients, BTA/Almaty.
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Respectfully submitted,

/s/Andrew T. Solomon

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                                            Addenda

Ex        Date                                   Description      Seal
                      Sater Ex 4:
  1       2/8/2012                                                Y
  2     12/23/2013    Sater Ex. 14:                               Y
  3      4/13/2017    Bourg Ex 2:                                 Y
  4       6/1/2017    FM Ex. 2:                                   Y
  5      9/11/2017    Bourg Day 1 Deposition Excerpts             N
  6      9/12/2017    Bourg Day 2 Deposition Excerpts             N
  7      5/10/2018    Dkt. 649-Order Extending Discovery          N
  8      5/24/2018    BSF Letter to Judge Parker re depositions   Y
  9      5/24/2018    BSF Letter, Ex. 1:                          Y
 10      6/28/2018    Dkt. 750 Monstrey Deposition Order          N
 11      7/17/2018    Monstrey Deposition Excerpts                Y
 12        9/13/18    Sater Deposition Excerpts                   Y
